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 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:16-cr-00114-JAD-GWF
 4
                   Plaintiff,                           ORDER
 5
            v.
                                                                ECF No. 147
 6
     RAMSEY HILL,
 7
                   Defendant.
 8
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10          Based on the parties' stipulation and good cause appearing, IT IS ORDERED that

11   the revocation hearing currently scheduled for September 27, 2021 at 9:00 a.m., be vacated

12   and continued to November 8, 2021, at 10:00 a.m.

13          DATED this 27th day of September 2021.

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                                               UNITED STATES DISTRICT JUDGE
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